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8                          UNITED STATES DISTRICT COURT
9                        CENTRAL DISTRICT OF CALIFORNIA
10                                SOUTHERN DIVISION
11
                                   )
12                                 )               Case No.: SACV 19-00847-CJC(DFMx)
                                   )
13
     DENNIS FUGNETTI PHOTOGRAPHY )
                                   )
14   TRUST,                        )
                                   )
15                                 )               ORDER DENYING BIRD B GONE,
                 Plaintiff,        )               INC.’S MOTION FOR SUMMARY
16                                 )               JUDGMENT [Dkt. 97] AND DENYING
          v.                       )               IN PART AND GRANTING IN PART
17                                 )               DENNIS FUGNETTI PHOTOGRAPHY
                                   )               TRUST’S MOTION FOR SUMMARY
18   BIRD B GONE, INC., and DOES 1 )               JUDGMENT [Dkt. 98]
     through 10 inclusive,         )
19                                 )
                                   )
20               Defendants.       )
                                   )
21                                 )
                                   )
22                                 )
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23                                 )
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1    I. INTRODUCTION
2

3           On May 6, 2019, Plaintiff Dennis Fugnetti filed this action against Defendants
4    Bird-B-Gone Inc. and unnamed does alleging that Defendants infringed upon Plaintiff’s
5    copyright when it used and trademarked a photograph of a flying pigeon (“the flying
6    pigeon image”) he created while operating a partnership called MIAD Photography.
7    (Dkt. 1 [Complaint, hereinafter “Compl.”].) Defendant Bird-B-Gone Inc. (“BBG”)
8    counterclaimed, alleging breach of contract and breach of nonexclusive license against
9    Fugnetti. (Dkt. 32 [Amended Counterclaims and Answer].) Unfortunately, in January
10   2020 Mr. Fugnetti passed away. In his stead, the Court granted a motion to substitute the
11   Dennis Fugnetti Photography Trust (“the Photography Trust”) as Plaintiff. (Dkt. 67
12   [Order Granting Plaintiff’s Motion to Substitute].) Now before the Court are the parties’
13   cross motions for summary judgment. (Dkt. 97 [Defendants’ Motion for Summary
14   Judgment, hereinafter “BBG’s MSJ”], Dkt. 98 [Plaintiff’s Motion for Summary
15   Judgment, hereinafter “the Photography Trust’s MSJ”].) For the following reasons,
16   BBG’s motion for summary judgment is GRANTED IN PART AND DENIED IN
17   PART and the Photography Trust’s motion for summary judgment is DENIED.1
18

19   II. BACKGROUND
20

21          The following facts are undisputed unless otherwise noted. In 1992, Bruce
22   Donoho founded Bird-B-Gone, Inc., the world’s largest manufacturer of professional
23   grade bird deterrents. (Dkt. 97-2 [BBG’s Statement of Uncontroverted Facts, hereinafter
24   “BBG’s SUF”] ¶¶ 1, 2.) MIAD Photography (“MIAD”) was a general partnership the
25   late Dennis Fugnetti and Joseph Bischetsrieder formed in 1974 to provide professional
26   photography services to its clients. (Dkt. 100-2 [BBG’s Response to Photography Trust’s
27
     1
28     Having read and considered the papers presented by the parties, the Court finds these matters
     appropriate for disposition without a hearing. See Fed. R. Civ. P. 78; Local Rule 7-15.
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1    Separate Statement of Undisputed Facts, hereinafter “BBG’s RSUF”] ¶ 1, 3.) From
2    approximately 1996 to about 2004, BBG retained MIAD on a project-by-project basis to
3    complete certain photography and marketing projects for the company. (Dkt. 101-2
4    [Photography Trust’s Response to BBG’s Statement of Undisputed Facts, hereinafter
5    “Photography Trust RSUF”] ¶ 30.)
6

7          Core to the present dispute between the parties is the exact scope of what MIAD
8    was hired to do for BBG and the extent of any license MIAD may have provided to BBG
9    to use the flying pigeon image. In approximately mid-1999, BBG engaged MIAD to
10   provide an image of a bird that would be used to demonstrate its bird deterrent products,
11   though the Photography Trust contends that the it never intended to supply solely the
12   pigeon image, but rather the image incorporated into BBG’s marketing materials.
13   (Photography Trust RSUF ¶ 3.) According to Mr. Donoho, he specified that he wanted a
14   bird image that Defendant could use going forward in whatever advertising and
15   marketing materials Defendant chose to produce and use. (Photography Trust RSUF ¶¶
16   13–15.)
17

18         Shortly after BBG engaged MIAD, Mr. Fugnetti went to a nearby beach and began
19   photographing flying pigeons to try to capture what BBG specified. (BBG’s RSUF ¶ 33.)
20   Mr. Fugnetti took several images, although the exact amount is disputed, some of which
21   were presented for BBG’s review. (BBG’s RSUF ¶¶ 36, 37.) Mr. Donoho, and another
22   BBG employee Stephanie Fitzpatrick, indicated that they liked one such image, known
23   for the purposes of resolving these motions as “the flying pigeon image.” (BBG’s RSUF
24   ¶ 38.) Mr. Bischetsrieder used Photoshop to incorporate the image into a larger
25   marketing material. (BBG’s RSUF ¶ 45; 98-6 [Declaration of Joseph M. Bischetsrieder,
26   hereinafter “Bischetsrieder Decl.”] ¶¶ 36–38.) When he edited the image, Mr.
27   Bischetsrieder “flattened” the image to prevent the extraction of the pigeon image from
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1    the larger marketing material. 2 (Bischetsrieder Decl. ¶ 38.) BBG paid MIAD a total of
2    $2,033.13 for its work, although the parties dispute on whether a portion of that payment
3    was solely for the flying pigeon image or just for MIAD’s work on the initial marketing
4    materials and subsequent projects MIAD designed which incorporated the flying pigeon
5    image for BBG. (Photography Trust’s RSUF ¶¶ 43–45.)
6

7           Specifically, the Photography Trust contends that it never hired MIAD to only
8    supply a single image or single piece of deliverable product of the flying pigeon image,
9    but rather “all inclusive” marketing materials that “were more than just taking pictures.”
10   (Id.) Whereas BBG contends that it hired MIAD for both taking pictures and
11   discretionary marketing projects incorporating the flying pigeon image. (Id.)
12

13          Though the Photography Trust does not dispute that MIAD granted BBG a
14   nonexclusive license to use the image as incorporated in works MIAD designed for BBG,
15   the Photography Trust maintains that the scope of the license ends there. (Photography
16   Trust’s RSUF ¶ 13.) However, the Photography Trust does not dispute that BBG
17   informed Mr. Fugnetti that the image would be used on future advertising and marketing
18   materials. (See Photography Trust’s RSUF ¶¶ 15, 49.)
19

20          Between 2002 and 2003, BBG stopped using MIAD’s services. (BBG’s RSUF ¶¶
21   49, 50.) It is undisputed, that on at least three occasions in 2004, Mr. Fugnetti visited
22   BBG’s office and asked to bid on additional marketing work. (BBG’s SUF ¶ 32.) BBG
23   contends that Mr. Fugnetti witnessed several marketing materials that incorporated the
24   flying pigeon image that MIAD had no role in creating or producing. (BBG’s SUF ¶¶
25   33–36.) According to BBG, Mr. Fugnetti did not object in any manner upon seeing those
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      BBG objects to Mr. Bischetsrieder’s declaration because it was originally submitted was initially
28   undated. (Dkt. 106 at 4.) The Court assumes that this was a result of excusable neglect, which the
     Photography Trust has since corrected. (Dkt. 104–5.)
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1    images, although the Photography Trust contends that Mr. Fugnetti did not know that
2    BBG continued to use the flying pigeon image after the relationship between MIAD and
3    BBG ended. (Photography Trust’s RSUF ¶ 36.) A short time after the relationship
4    between BBG and MIAD ended in 2003, BBG trademarked the flying pigeon image and
5    began using the image on product packaging that MIAD did not design or have any role
6    in creating, prompting the present action. (BBG’s RSUF ¶ 52.)
7

8          Mr. Fugnetti subsequently registered the flying pigeon image with the United
9    States Copyright Office and was issued a registration with an effective date of October
10   23, 2018. (BBG’s RSUF ¶ 73.) BBG disputes the validity of that copyright. (Id.)
11

12   III. LEGAL STANDARD
13

14         The Court may grant summary judgment on “each claim or defense—or the part of
15   each claim or defense—on which summary judgment is sought.” Fed. R. Civ. P. 56(a).
16   Summary judgment is proper when the pleadings, the discovery and disclosure materials
17   on file, and any affidavits show that “there is no genuine dispute as to any material fact
18   and the movant is entitled to judgment as a matter of law.” Id.; Celotex Corp. v. Catrett,
19   477 U.S. 317, 322 (1986). A factual issue is “genuine” when there is sufficient evidence
20   for a reasonable trier of fact to resolve the issue in the nonmovant’s favor. Anderson v.
21   Liberty Lobby, Inc., 477 U.S. 242, 248 (1986). A fact is “material” when its resolution
22   might affect the outcome of the suit under the governing law. Id. “Factual disputes that
23   are irrelevant or unnecessary will not be counted.” Id. at 249. The party seeking
24   summary judgment bears the initial burden of demonstrating the absence of a genuine
25   issue of material fact. Celotex Corp., 477 U.S. at 325.
26

27         When the nonmovant would have the burden of proof on an issue at trial, the
28   moving party may discharge its burden of production by either (1) negating an essential

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1    element of the opposing party’s claim or defense, Adickes v. S.H. Kress & Co., 398 U.S.
2    144, 158–60 (1970), or (2) showing that there is an absence of evidence to support the
3    nonmoving party’s case, Celotex Corp., 477 U.S. at 325. If the movant meets this
4    burden, the nonmoving party must set forth, by affidavit, or as otherwise provided under
5    Rule 56, “specific facts showing that there is a genuine issue for trial.” Anderson, 477
6    U.S. at 256. The court must examine all the evidence in the light most favorable to the
7    nonmoving party and draw all justifiable inferences in its favor. Id.; United States v.
8    Diebold, Inc., 369 U.S. 654, 655 (1962); T.W. Elec. Serv., Inc. v. Pac. Elec. Contractors
9    Ass’n, 809 F.2d 626, 630–31 (9th Cir. 1987).
10

11           The court does not make credibility determinations or weigh conflicting evidence.
12   Eastman Kodak Co. v. Image Tech. Servs., Inc., 504 U.S. 451, 456 (1992). But
13   conclusory and speculative testimony in affidavits or moving papers is insufficient to
14   raise triable issues of fact and defeat summary judgment. Thornhill Pub. Co., Inc. v. GTE
15   Corp., 594 F.2d 730, 738 (9th Cir. 1979).
16

17   IV. DISCUSSION
18

19       A. BBG’s Motion for Summary Judgment
20

21           BBG moves for summary judgment as two of its affirmative defenses: (1) implied
22   non-exclusive license and (2) laches.3 (BBG’s MSJ at 8–18.) The Court takes each in
23   turn.
24

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       BBG also argues that the Photography Trust lacks standing to assert its copyright claim because Mr.
26
     Fugnetti’s copyright registration is invalid under 17 U.S.C. § 411(a) since he named himself as the
27   author of the image on the copyright application, rather than MIAD. (BBG’s MSJ at 19–25.) First, this
     is inaccurate. Mr. Fugnetti identified both himself and MIAD as the authors on his copyright
28   application. (Dkt. 97-3 [Declaration of John van Loben Sels in support of BBG’s MSJ, hereinafter “Sels
     Decl.”], Dkt. 97-7 [Exhibit D to Sels Decl., Copyright Registration Certificate of flying pigeon image].)
                                                        -6-
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1                   1.     Implied Non-Exclusive License
2

3           An implied license is granted when: “‘(1) a person (the licensee) requests the
4    creation of a work, (2) the creator (the licensor) makes that particular work and delivers it
5    to the licensee who requested it, and (3) the licensor intends that the licensee-requestor
6    copy and distribute his work.’” Asset Mktg. Sys., Inc. v. Gagnon, 542 F.3d 748, 754-55
7    (9th Cir. 2008) (quoting I.A.E., Inc. v. Shaver, 74 F.3d 768, 776 (7th Cir. 1996)). To be
8    clear, the Photography Trust does not assert a claim of infringement as to any materials
9    that MIAD created for BBG during the course of the parties’ relationship. “Rather, the
10   Photography Trust contends that BBG engaged in infringing use of the Flying Pigeon
11   Image by asserting trademark protection over it, and utilizing it on subsequent retail
12   products box designs that MIAD did not create.” (Dkt. 101 [Photography Trust’s
13   Opposition to BBG’s Mot., hereinafter “Photography Trust’s Opp.”] at 3.) Indeed, there
14   is no dispute “that BBG had a license to use the Flying Pigeon Image within the specific
15   projects and materials that MIAD designed and delivered to BBG.” (Id.) The Court thus
16   focuses its analysis on whether MIAD granted an implied license to BBG that included
17   trademarking the Flying Pigeon Image and using the image on its retail boxes.
18

19                         a) Requests, Makes, and Delivers the Work
20

21          There is no genuine issue of material fact as to whether BBG requested the
22   creation of the flying pigeon image and whether MIAD made the image. Indeed, neither
23

24
     And even if this was a error, there is no evidence that it was not made in good faith. See Unicolors Inc.
25   v. H&M Hennes & Mauritz, L.P., 141 S.Ct. 2698 (2021) (holding that good faith mistakes of fact or law
     in filing a copyright application will not render the copyright registration invalid). There is also a
26
     genuine dispute of material fact as to whether a mistake was made in the first place since the
27   Photography Trust contends that all of MIAD’s interests were transferred to Mr. Fugnetti and his wife
     upon the dissolution of the MIAD partnership. (BBG’s RSUF ¶¶ 4–8; Bischetsrieder Decl. ¶¶ 5–14.)
28   Since these interests were transferred to the Photography Trust, including the copyright over the flying
     pigeon image, the Court cannot grant summary judgment on this issue.
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1    party disputes that the summary judgment record establishes that BBG requested MIAD
2    provided BBG with a picture of a pigeon in flight to use in its commercial marketing
3    materials. (Photography Trust’s RSUF ¶ 3; Photography Trust’s Opp. at 3.) Nor is there
4    dispute that Mr. Fugnetti took the flying pigeon image and Mr. Bischetsrieder
5    subsequently edited the image. (BBG’s RSUF ¶¶ 36, 37; BBG’s RSUF ¶ 45; 98-6
6    [Declaration of Joseph M. Bischetsrieder, hereinafter “Bischetsrieder Decl.”] ¶¶ 36–38.)
7

8          But the Photography Trust contends that MIAD never delivered the flying pigeon
9    image because MIAD never provided the “raw” version of the image to BBG, only the
10   “finalized design projects incorporating those [raw] images for which MIAD was
11   separately paid.” (Opp. at 3; Photography Trust’s RSUF ¶¶ 43–45.) The Photography
12   Trust, however, cites no law that adopts such a strict interpretation of what constitutes
13   delivery in the context of an implied license. At best, the Photography Trust seems to be
14   extrapolating from Asset Marketing Systems, Inc., in which the Ninth Circuit briefly
15   considered a copyright-holder’s argument that he had not delivered his copyrighted
16   software programs to the defendant because “he never delivered the source code so that
17   [defendant] could modify the code” and “[i]f [defendant] did not have the right to modify
18   the code, it may have infringed [plaintiff’s] copyright by exceeding the scope of its
19   license.” 542 F.3d at 755. However, the Ninth Circuit declined to analyze this argument
20   fully, turning instead to whether the plaintiff’s “conduct manifested an objective intent to
21   give [the defendant] an unlimited license at the time of the creation of the work.” Id. at
22   755–56; see Estate of Hevia v. Portrio Corp., 602 F.3d 34, 41 (1st Cir. 2010) (quoting
23   John G. Danielson, Inc. v. Winchester-Conant Properties, Inc., 322 F.3d 26, 41 (1st Cir.
24   2003)) (“[C]ourts ‘quickly pass over the request and delivery issues to focus on
25   manifestations of . . . intent that plans may be used on a project without [the plaintiff’s]
26   involvement.’”) (internal quotation marks omitted). Since “courts should focus primarily
27   on ‘the licensor’s objective intent at the time of the creation and delivery of the
28   [copyrighted work] as manifested by the parties’ conduct[,]’” the Court turns to its

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1    analysis on whether there was objective intent to grant BBG an unlimited license at the
2    time of the work’s creation. Corbello v. Devitto, 777 F.3d 1058, 1067 (9th Cir. 2015)
3    (quoting Asset Mktg. Sys., 542 F.3d at 755 n.4).
4

5                        b) Licensor’s Intent
6

7           “[T]he licensor’s objective intent” is determined at “the time of the creation and
8    delivery of the [work] as manifested by the parties’ conduct.” Taylor Holland LLC v.
9    MVMT Watches, Inc., 2016 WL 6892097, *4 (C.D. Cal. Aug. 11, 2016) (quoting Asset
10   Mktg. Sys., 542 F.3d at 756 (9th Cir. 2008)). “Intent to create a license exists when an
11   author creates a work with the knowledge and intention that the licensee will use it for a
12   specific purpose.” Id. at *5. The Ninth Circuit considers the following factors to
13   determine a licensor’s objective intent: “(1) whether the parties were engaged in a short-
14   term discrete transaction as opposed to an ongoing relationship; (2) whether the creator
15   utilized written contracts . . . providing that copyrighted materials could only be used
16   with the creator’s future involvement or express permission; and (3) whether the creator’s
17   conduct during the creation or delivery of the copyrighted material indicated that use of
18   the material without the creator’s involvement or consent was permissible.” Asset Mktg.
19   Sys., 542 F.3d at 756.
20

21                              (1) Length of Parties’ Relationship
22

23         Both parties agree that generally a long-term relationship amongst the parties
24   suggests an “intent to remain involved in the job,” weighing against finding a license,
25   whereas short-discrete arrangements “with non-indication of [the licensor’s] further
26   involvement in the project, weighs towards a finding of a license.” Danielson, 322 F.3d
27   at 441; Nelson-Salabes, Inc. v. Morningside Dev., LLC, 284 F.3d 505, 516 (4th Cir.
28   2002). But the general rule has little applicability in this case. Case law in this Circuit,

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1    and others, demonstrates that the general rule may be narrower in its applicability than
2    originally thought, having developed in a line of cases all involving disputes between
3    architects and developers where a long-term construction project is the only “project” at
4    issue, rather than a series of discrete assignments like the present case. See Fontana v.
5    Harra, 2013 WL 990014, *7 (S.D. Cal. March 12, 2013) (“While the decisions
6    establishing and applying this test do not limit its applicability to disputes between
7    architects and developers, the decisions also do not suggest that the three-factor test
8    should be mechanically followed in all of the diverse factual settings where an author’s
9    intent to license is an issue.”). Indeed, courts have found that “the existence of an
10   ongoing relationship between the parties may be probative of intent to license, lack of
11   intent to license, or it may not be probative of intent at all.” Id.; see Assets Mktg. Sys.,
12   542 F.3d at 756 (finding ongoing relationship between the parties indicated neither an
13   intent to grant or deny a license); Estate of Hevia, 602 F.3d 34, 41 (1st Cir. 2010)
14   (finding the three factor test “does not fit this case” because the parties were former
15   partners and not engaged in an arms-length transaction).
16

17         This dispute does not involve architects and developers but a years-long
18   relationship between a company that regularly hired an independent contractor to create
19   individual marketing materials for it. On the one hand, the length of the relationship may
20   weigh against finding a license. The Photography Trust presents evidence that Mr.
21   Fugnetti created the Flying Pigeon image with the expectation that BBG would hire
22   MIAD for future projects incorporating the image, which it did even after it first provided
23   the image to BBG. (BBG’s RSUF ¶ 32; Bischetsrieder Decl. ¶¶ 22–25); see Taylor
24   Holland, 2016 WL 6892097 at *6 (a plaintiff’s hope that allowing the defendant to use a
25   copyrighted image would start a “long term business relationship” between the parties
26   made it unclear whether the plaintiff intended to grant an unlimited license to use the
27   work). On the other hand, there is no dispute that MIAD was an independent contractor,
28   “a status that should not create any long-term or permanent expectations of involvement

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1    in the company.” Numbers Licensing, LLC v. bVisual USA Inc., 643 F. Supp. 2d 1245,
2    1253 (E.D. Wash. 2009). Given the conflicting interpretations and evidence on this issue,
3    the Court finds this factor neutral, neither weighing for or against finding a license.
4    Taylor Holland, 2016 WL 6892097 at *6 (finding this factor neutral when it is unclear
5    whether the plaintiff intended to grant an unlimited license to use the work).
6

7                                 (2) Written Contracts
8

9           There is also no contractual evidence indicating an objective intent to grant or deny
10   a license. Though the Photography Trust in opposition contends that “documentation
11   presented in BBG’s subsequent interaction with Mr. Fugnetti strongly suggests that both
12   parties understood that no broad implied license existed[,]” none of that documentation is
13   contractual evidence. (Photography Trust’s Opp. at 8.) For example, the Photography
14   Trust contends that when BBG first approached Mr. Fugnetti in 2017 about copyrighting
15   the flying pigeon image so it could have exclusive rights to it, Mr. Fugnetti’s initial
16   reaction was to offer BBG a license, indicating that he understood that BBG did not have
17   a right to use the image. (Photography Trust’s MSJ at 18; BBG’s RSUF ¶¶ 68–69.)
18   Moreover, Robert Fish, BBG’s attorney, emailed Mr. Fugnetti suggesting that he may
19   have a viable copyright infringement claim but that he believed the statute of limitations
20   had run. (Photography Trust’s MSJ at 7; BBG’s RSUF ¶ 70.) But an offer to license and
21   a suggestion of a claim does not constitute a contract.4 Nor is Mr. Fugnetti’s offer of a
22   license compelling because BBG was asking for an exclusive license, not a nonexclusive
23   one as BBG maintains it has. Thus, the Photography Trust has failed to raise any
24   contractual evidence suggesting that there was intent to limit the scope of the implied
25   license concerning the flying pigeon image. Nor has BBG raised contractual evidence
26

27
     4
       Nor is the Court convinced that the communications with Mr. Fish are admissible. Mr. Fish is BBG’s
     attorney and these communications—a series of emails between Mr. Fish, Mr. Fugnetti, and Mr.
28   Fugnetti’s daughter—appear to be made as part of an offer to compromise over obtaining the exclusive
     rights to the flying pigeon image and are thus excludable under Federal Rule of Evidence 408.
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1    indicating an objective intent to grant BBG an unlimited license. Accordingly, this factor
2    is also neutral.
3

4                               (3) The Parties’ Conduct
5

6           The third and final factor is the “the licensor’s objective intent at the time of the
7    creation and delivery of the [work] as manifested by the parties conduct.” Taylor
8    Holland, 2016 WL 6892097 at *5 (quoting Asset Mktg. Sys., 542 F.3d at 756). “Intent to
9    create a license exists when an author creates a work with the knowledge and intention
10   that the licensee will use it for a specific purpose.” Id.; Bangkok Broadcasting T.V. Co.,
11   Ltd. v. IPTV Corp., 742 F. Supp. 2d 1101, 1111 (C.D. Cal. 2010). The Court must
12   consider whether “the totality of the parties’ conduct indicates that the licensor intended
13   to grant the licensee permission to use the work . . . not [the parties’] subjective intent.”
14   Reinicke v. Creative Empire LLC, 38 F. Supp. 3d 1192, 1199 (S.D. Cal. 2014) (internal
15   citations omitted).
16

17          There is a genuine issue of material fact as to whether MIAD intended to confer an
18   unlimited license onto BBG for use of the flying pigeon image. Though BBG presents
19   evidence that it explicitly told Mr. Fugnetti that it intended to use the flying pigeon image
20   on all of its future marketing materials, including its packaging, it also appears that
21   MIAD took steps to prevent the flying pigeon image from being used in future marketing
22   materials without MIAD’s involvement. For example, Mr. Bischetsrieder offers that
23   when editing the flying pigeon image in its design work for BBG, he “flatten[ed]” the
24   layers on the file prior to sending it, in order to prevent someone from moving or
25   extracting any of the individual design elements from the files themselves and that MIAD
26   never provided the “raw image” to use. (Bischetsrieder Decl. ¶¶ 35–39.) Additionally,
27   neither party disputes that BBG repeatedly hired MIAD to incorporate the image in other
28   marketing materials, giving rise to an inference that MIAD intended, and BBG

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1    understood, that its use of the image was confined to projects that MIAD designed, rather
2    than just the image itself. (BBG’s RSUF ¶ 18.) Yet, BBG insists that Mr. Fugnetti’s
3    silence upon seeing other marketing materials featuring the image, that MIAD did not
4    design, is evidence that BBG held an unlimited license. Though the Photography Trust’s
5    evidence may not be overwhelming, read in the light most-favorable to it, the facts
6    presented are enough to create a genuine issue of material fact at this stage. Accordingly,
7    BBG’s motion for summary judgment on its implied license defense is DENIED.
8

9                  2.     Laches
10

11          BBG has failed to meet its burden on its laches defense. (BBG’s MSJ at 12–19.)
12   In Petrella v. MGM, 572 U.S. 663, 667–68 (2014), the U.S. Supreme Court explained
13   that “in extraordinary circumstances, laches may bar at the very threshold the particular
14   relief request by the plaintiff” in a copyright infringement action.” Thus, “a plaintiff’s
15   delay can always be brought to bear at the remedial stage, in determining appropriate
16   injunctive relief, and in assessing the ‘profits of the infringer . . . attributable to the
17   infringement.’” Id. at 668. However, “laches is an affirmative defense, on which the
18   defendant has the burden[.]” Lent v. California Coastal Com., 62 Cal. App. 5th, 837
19   (2021). “To obtain a judgment on this affirmative defense, a defendant must prove ‘both
20   an unreasonable delay by the plaintiff and prejudice to itself.’” Danjaq Ltd. Liab. Co. v.
21   Sony Corp., 263 F.3d 942, 950–51 (9th Cir. 2001) (quoting S. Pac. Co. v. Bogert, 250
22   U.S. 483, 500 (1919)). On summary judgment, “‘[plaintiff’s] showing must be sufficient
23   for the court to hold that no reasonable trier of fact could find other than for the moving
24   party.’” United States v. Sandwich Isles Comms., Inc., 398 F. Supp. 3d 757, 769 (D.
25   Haw. 2019).
26

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1                       a) Unreasonable Delay
2

3          The summary judgment record does not clearly establish that Mr. Fugnetti
4    unreasonably delayed in bringing his action against BBG. “[A]ny delay is to be
5    measured from the time that the plaintiff knew or should have known about the potential
6    claim at issue.” Kling v. Hallmark Cards, Inc., 225 F.3d 1030, 1036 (9th Cir. 2000).
7    That is, “the period of delay is measured from when the claimant had actual notice of the
8    claim or would have reasonably been expected to inquire about the subject matter.” Id.
9    It is disputed whether Mr. Fugnetti had personal knowledge of BBG’s use of the Pigeon
10   Image on its marketing materials and product packaging as of 2004, which neither he nor
11   MIAD had any role in creating. (BBG’s RSUF ¶¶ 62–63.) Though BBG contends that
12   Mr. Fugnetti himself visited BBG’s offices at least three times and viewed these
13   marketing materials, (id. ¶ 32), the Photography Trust contends that Mr. Fugnetti had no
14   knowledge of the specific product packaging at issue nor that BBG had trademarked the
15   image, since both occurred after MIAD and Mr. Fugnetti ended their relationship, (id. ¶¶
16   62–63, 72).
17

18
                        b) Prejudice

19
           BBG has also failed to show that any delay on Mr. Fugnetti’s part severely
20
     prejudiced BBG. “Courts have recognized two chief forms of prejudice in the laches
21
     context – evidentiary and expectations based.” Danjaq, 263 F.3d at 955. “Evidentiary
22
     prejudice includes such things as lost, stale, or degraded evidence, or witnesses whose
23
     memories have faded or who have died.” Id. “A defendant may also demonstrate
24
     prejudice by showing that it took actions or suffered consequences that it would not have,
25
     had the plaintiff brought suit promptly.” Id. Here, BBG presents no evidence of the
26
     amount of time or money BBG invested in its use of the flying pigeon image. And while
27
     Mr. Fugnetti has unfortunately passed away, preventing him from testifying as to any
28
     facts concerning MIAD’s license of the pigeon image to BBG, this potential prejudice is
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1    mitigated by Mr. Bischetsrieder’ s role in this case. Indeed, Mr. Bischetsrieder was Mr.
2    Fugnetti’s partner at MIAD and cooperated in discovery in this case. (BBG’s RSUF ¶ 3;
3    Bischetsrieder Decl. ¶¶ 5–6.) Though he may not be a complete substitute for Mr.
4    Fugnetti, he is a source of information that can speak, and did speak, to MIAD’s role in
5    the creation and distribution of the flying pigeon image at the time in question.
6

7          Moreover, Petrella stands for the proposition that finding a laches defense in a
8    copyright case is an “extraordinary” remedy. Since there are factual disputes as to what
9    Mr. Fugnetti knew about BBG’s use of the image and when he learned it, the Court finds
10   that there is simply not enough evidence to conclude that he unreasonably delayed in
11   bringing the present action. The Court will not grant such an extraordinary measure at
12   this stage of the litigation. BBG’s motion on its affirmative defense is DENIED.
13

14         B.     The Photography Trust’s Cross Motion for Summary Judgment
15

16         The Photography Trust moves for summary judgment as to BBG’s counterclaim
17   for breach of a nonexclusive license, on its assertion that there is a causal nexus between
18   BBG’s revenues and its use of the pigeon image, on BBG’s unclean hands defense, and
19   on BBG’s statute of limitations defense. The Court analyzes each in turn.
20

21                1.    Breach of Nonexclusive License
22

23         In its motion, the Photography Trust’s sole argument that it should be granted
24   summary judgment on BBG’s breach of nonexclusive license claim is that BBG’s alleged
25   damages consist of nothing more than attorney’s fees and costs incurred in defending
26   against the Photography Trusts’ claims, which cannot be recovered under California law
27   absent a specific contractual provision or statute allowing BBG to seek such damages.
28   (Photography Trust’s MSJ at 21.) Defendant responds that such damages can be

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1    recovered as “consequential” damages since it was foreseeable that BBG would defend
2    itself against Plaintiff’s claims if Plaintiff sued BBG. (Dkt. 100 [BBG’s Opposition to
3    Plaintiff’s MSJ] at 15.) “Enforcing a copyright license ‘raises issues that lie at the
4    intersection of copyright and contract law.’” MDY Industries, LLC v. Blizzard Ent., Inc.,
5    629 F.3d 928, 939 (9th Cir. 2010) (quoting Sun Microsystems, Inc. v. Microsoft Corp.,
6    188 F.3d 1115, 11 (9th Cir. 1999) overruled on other grounds, Perfect 10, Inc. v. Google
7    Inc., 653 F.3d 976 (9th Cir. 2011)). The Ninth Circuit has explained that breaches of
8    terms that limit the scope of a copyright license are actions for copyright infringement,
9    whereas actions asserting breaches of all other license terms are contract actions
10   governed by the appropriate state’s laws. MDY Industries, 629 F.3d at 939. As Judge
11   Guilford explained in resolving Mr. Fugnetti’s Anti-SLAPP motion against BBG, “a
12   nonexclusive license that’s unlimited in scope necessarily implies a promise not to sue
13   for copyright infringement.” Fugnetti v. Bird B Gone, Inc., 2019 WL 6362467, at *3
14   (C.D. Cal. Sept. 16, 2019) (citing In Re CFLC, Inc., 89 F.3d 673, 677 (9th Cir. 1996)).
15   As such, BBG is legally able to recover all appropriate damages for breach of an
16   nonexclusive license available under California law, including consequential damages.
17   See Foad Consulting Group, Inc. v. Azzalino, 270 F.3d 821, 824 (9th Cir. 2001) (holding
18   state law determines contract questions in connection to the grant of a copyright license).
19

20         Additionally, the Court does not need to decide whether attorneys’ fees and costs
21   may be recovered for a breach of a nonexclusive license claim because Defendant
22   presents evidence that these are not its only claimed damages. (BBG’s RSUF ¶ 81.)
23   Indeed, BBG asserts that it has also incurred damages because it phased out its use of the
24   Flying Pigeon Image due to Plaintiff’s alleged breach. (Dkt. 104-4 [Deposition of Bruce
25   Alan Donoho, hereinafter “Donoho Dep.”] 176:7-18.) Though the Photography Trust
26   argues that the Court should not consider this evidence because it was never asserted in
27   discovery, that is not accurate. (Dkt. 104 [The Photography Trust’s Reply in Support of
28   its Motion for Summary Judgment, hereinafter “Photography Trust’s Reply”] at 12.)

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1    Counsel for the Photography Trust deposed BBG’s President Bruce Donoho on the very
2    topic in July of 2021. (Donoho Dep. at 176:7-18.) In his deposition, Mr. Donoho
3    explained that BBG incurred expenses in employee time, factory time, and manufacturing
4    time spent on changing it product packaging as a result of Plaintiff’s suit. (Id.) In Reply,
5    Plaintiff essentially concedes that BBG would be able to recover such damages, only
6    arguing that the evidence is improper. (Photography Trust’s Reply at 12.) However, the
7    Court finds that these expenses would fall within the exact type of consequential damages
8    California law permits, assuming BBG is able to show that the damages were
9    foreseeable, proximately caused by Plaintiff’s breach, and reasonable. See Global Hawk
10   Insurance Co. (RRG) v. Wesco Ins. Co., 424 F. Supp. 3d 848, 854-55 (C.D. Cal. 2019)
11   (quoting Lewis Jorge Constr. Mgmt., Inc. v. Pomona Unified Sch. Dist., 34 Cal. 4th 960,
12   969 (2004)) (Consequential damages “must be ‘foreseeable and proximately caused by
13   the breach of a contract’—they are recoverable only to the extent they ‘were either
14   actually foreseen . . . or were ‘reasonably foreseeable’ when the contract was formed.’”).
15   Accordingly, the Photography Trust’s motion for summary judgement on BBG’s
16   counterclaim for breach of nonexclusive license is DENIED.
17

18
                  2.     Causal Nexus Between BBG’s Revenues and the Flying Pigeon
                        Image
19

20
           Plaintiff has also failed to meet its burden that there is a causal nexus between
21
     BBG’s revenues and its use of the flying pigeon image on its product packaging. “When
22
     the party moving for summary judgment would bear the burden of proof at trial, ‘it must
23
     come forward with evidence which would entitle it to a directed verdict if the evidence
24
     went uncontroverted at trial.’” C.A.R. Transp. Brokerage Co. v. Darden Rests., Inc., 213
25
     F.3d 474, 480 (9th Cir. 2000) (quoting Houghton v. South, 965 F.2d 1532, 1526 (9th Cir.
26
     1992)). “Put another way, ‘[plaintiff’s] showing must be sufficient for the court to hold
27
     that no reasonable trier of fact could find other than for the moving party.’” United
28
     States v. Sandwich Isles Comms., Inc., 398 F. Supp. 3d 757, 769 (D. Haw. 2019). Here,
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1    Plaintiff must satisfy the “two-step framework for recovery of indirect profits: 1) the
2    copyright claimant must first show a causal nexus between the infringement and the gross
3    revenue; and 2) once the causal nexus is shown, the infringer bears the burden of
4    apportioning the profits that were not the result of infringement.” Polar Bear
5    Productions, Inc. v. Timex Corp., 384 F.3d 700, 711 (9th Cir. 2004).
6

7          But the Photography Trust fails to submit sufficient evidence showing that no
8    reasonable trier of fact could find that there is no causal nexus between BBG’s profits
9    and its use of the flying pigeon image on its packaging. In fact, Plaintiff presents no
10   evidence of BBG’s profits, let alone evidence that any portion of those profits was
11   attributable to its use of the image. (See Photography Trust’s MSJ at 24–25.) Though the
12   Photography Trust points to testimony that BBG intended to use the image to help
13   consumers show how its bird-deterrent product works, this is not enough to show that the
14   use of the image “may have actually influenced the purchasing decisions” of those that
15   bought BBG’s products. Polar Bear, 384 F.3d at 714. There is indeed no evidence on
16   the record at all that the use of the image caused anyone to purchase a BBG product or
17   increased BBG’s sales at all. Put plainly, the Photography Trust has failed to carry its
18   burden at this stage of the litigation and its motion for summary judgment on this issue is
19   DENIED.
20

21                3.     Unclean Hands
22

23         The Photography Trust is entitled to summary judgment on BBG’s unclean hands
24   defense, because BBG has failed to raise a genuine dispute of material fact as to this
25   issue. Under the doctrine of unclean hands, a plaintiff’s copyright claim may be
26   dismissed “if defendant establishes that plaintiff’s evidence was false and that plaintiff
27   was involved in a scheme to defraud the public.” Supermarket of Homes, Inc. v. San
28   Fernando Valley Board of Realtors, 786 F.2d 1400, 1408 (9th Cir. 1986). BBG’s

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1    unclean hands theory is premised on the notion that Mr. Fugnetti knowingly and
2    intentionally supplied false information on his copyright application, stating that the
3    flying pigeon image was not a work made for hire and that he falsely identified himself as
4    the author rather than MIAD. (BBG’s Opp. at 16–17.) However, the summary record is
5    devoid of any facts that would even suggest that Mr. Fugnetti’s conduct in this regard
6    was knowing or intentional. BBG also misrepresents the facts upon which the claim is
7    based. Mr. Fugnetti did identify MIAD on the copyright application as the author, next to
8    himself. (Dkt. 97-3 [Declaration of John van Loben Sels in support of BBG’s MSJ,
9    hereinafter “Sels Decl.”], Dkt. 97-7 [Exhibit D to Sels Decl., Copyright Registration
10   Certificate of flying pigeon image].) Absent any evidence of Mr. Fugnetti’s intent in
11   filling out and filing the copyright application, BBG has failed to raise a factual issue on
12   this claim. The Photography Trust’s motion for summary judgment on BBG’s unclean
13   hands defense is therefore GRANTED.
14

15                4.     Statute of Limitations
16

17         The Photography Trust also moves for summary judgment on BBG’s statute of
18   limitations defense. BBG, as the defendant in the Photography’s Trust copyright
19   infringement claim, bears the burden of proving this defense. Kingman Reef Atoll
20   Investments, L.L.C. v. U.S., 541 F.3d 1189. Under the Ninth Circuit’s “discovery rule,” a
21   copyright infringement claim accrues—and the three-year statute of limitations begins to
22   run—when a party discovers, or reasonably should have discovered, the alleged
23   infringement. Polar Bear, 384 F.3d at 706. The Copyright Act has a rolling limitations
24   period, however, which restarts upon each “separate accrual” of a claim. See Petrella,
25   572 U.S. at 674; 17 U.S.C. § 507(b). BBG has presented evidence that it began phasing
26   out its use of the flying pigeon image in 2013, about six years before Mr. Fugnetti filed
27   this action. (BBG’s RSUF ¶¶ 75–79.) The Photography Trust counters with evidence that
28   the flying pigeon was still used in BBG’s marketing materials as recently as 2019. (Id.)

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1    The conflicting evidence here is enough to raise a genuine issue of material fact.
2    Accordingly, the Photography Trust’s motion for summary judgment on this issue is
3    DENIED.
4

5    V. CONCLUSION
6

7          For the foregoing reasons, BBG’s motion for summary judgment is DENIED. The
8    Photography Trust’s motion for summary judgment is DENIED IN PART AND
9    GRANTED IN PART. Specifically, the Photography Trust’s motion for summary
10   judgment as to BBG’s unclean hands defense is GRANTED, the rest of the Photography
11   Trust’s motion is DENIED.
12

13         DATED:       April 4, 2022
14                                                 __________________________________
15                                                       CORMAC J. CARNEY
16                                                UNITED STATES DISTRICT JUDGE
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